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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              WAYCROSS DIVISION

COALITION FOR GOOD                       )
GOVERNANCE and DONNA                     )
CURLING,                                 )
                                         )   Civil Action No. 5:23-mc-00001-LGW-BWC
      Plaintiffs,                        )
                                         )   In RE Subpoenas issued by the United States
v.                                       )   District Court For the Northern District of
                                         )   Georgia, Atlanta Division, Civil Action No.
COFFEE COUNTY BOARD OF                   )   1:17-CV-2989-AT
ELECTIONS AND REGISTRATION,              )
                                         )
      Defendant.                         )

                NOTICE OF INTENT TO FILE SUR REPLY BRIEF

      Pursuant to Local Rule 7.6 Defendant Coffee County Board of Elections and

Registration (the “CCBOE”) hereby notifies the Court and the Clerk of Court of its intent

to file a Sur Reply Brief in Response to Plaintiffs’ Reply Brief regarding Documents in the

Possession of Third Parties (doc. 35).

      This 21st day of December, 2023.

                                                 OLIVER MANER LLP

                                                 /s/ Benjamin M. Perkins
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                              CERTIFICATE OF SERVICE

This is to certify that I have this day caused electronic notification of filing and service of

the foregoing to be made upon counsel or record for the parties by filing the same using

the court’s CM/ECF filing system.


       This 21st day of December, 2023.

                                                   OLIVER MANER LLP

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